                       Case 1:22-cv-00828-DII Document 64 Filed 04/25/23 Page 1 of 1

                                             UNITED STATES DISTRICT COURT
                                                     Western District of Texas

                                          Alternative Dispute Resolution Summary

1.       Style of case: Gel Blaster, Inc. (Plaintiff and Counter-Defendant) v. Hasbro, Inc. (Defendant and Counter-Plaintiff)

2.       Civil action number:       1:22-cv-00828-LY

3.       Nature of suit:            Breach of Contract / Misappropriation of Trade Secrets / Patent Infringement / Trademark
                                    Infringement

4.       Date of Mediation:         April 20, 2023

5.       When did the case settle?           Before ADR           ✘   In ADR                           Did Not Settle

6.       What was your total fee?             $ 14,375                       or            Pro Bono

7.       How was this Mediation initiated?                   by court order               or       ✘   agreement of the parties

8.       Please provide the names, addresses, and telephone numbers of counsel:

Name:              Scott W. Doyle, Esq.                               Name:                    David M. Hoffman, Esq.

Address:           3050 K Street, NW, Suite 400                       Address:                 111 Congress Avenue, Suite 810
                   Washington, DC 20007                                                        Austin, Texas 78701

Phone:             202.342.8845                                       Phone:                   512.226.8154


Name:              Jeffrey Shneidman, Esq.                            Name:                    William C. Petit, Esq.

Address:           One Marina Park Drive                              Address:                 515 Post Oak Boulevard, Suite 900
                   Boston, Massachusetts 02210                                                 Houston, Texas 77027

Phone:             617.956.5948                                       Phone:                   713.355.5001


9.       Additional comments: Outside counsel participating also included David Barkan, Esq., Fish & Richardson PC,

         500 Arguello Street, Suite 400, Redwood City, California 94063 / 650.839.5070


           John DeGroote Digitally signed by John DeGroote
                         Date: 2023.04.25 15:55:28 -05'00'
                                                                                  April 25, 2023
         Signature of Neutral                                                     Date

         DeGroote Partners, LLC                                                   214.288.6864
         Address                                                                  Phone

         501 S 2nd Avenue, A-700 | Dallas | 75226




 Neutral must file completed form in duplicate with the U.S. District Clerk within 5 days after completion of
 ADR or, if settlement occurs prior to session, within 5 days of neutral's notice by the parties of settlement.
